UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 RICHARD ROE,

                             Plaintiff,

                      -against-                                  22-CV-10298 (UA)

                                                     ORDER GRANTING IFP APPLICATION
 NEW YORK STATE BOARD OF LAW
 EXAMINERS,

                             Defendant.

LAURA TAYLOR SWAIN, Chief United States District Judge:

          Leave to proceed in this Court without prepayment of fees is authorized. See 28 U.S.C.

§ 1915.

SO ORDERED.

 Dated:      December 7, 2022
             New York, New York
                                                             /s/ Laura Taylor Swain
                                                           LAURA TAYLOR SWAIN
                                                        Chief United States District Judge
